       Case 8:19-cv-00098-JLS-DFM Document 43 Filed 06/24/19 Page 1 of 1 Page ID #:206




                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Mariano Benitez,                                                          CASE NUMBER:


                                                        PLAINTIFF(S)
                                                                                         8:19-cv-00098-JLS-DFM
                                   v.
                                                                                ORDER TO STRIKE ELECTRONICALLY
Powerline Funding, LLC,                                                               FILED DOCUMENT(S)
                                                     DEFENDANT(S) .


The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply with the Court's
Local Rules, General Orders, and/or Case Management Order, as indicated:

                    06/21/2019                   /       40         /     MOTION to Withraw As Counsel of Record
                  Date Filed                         Doc. No.                              Title of Document
                                                 /                  /
                   Date Filed                        Doc. No.                              Title of Document
     G    Document submitted in the wrong case
     G    Incorrect document is attached to the docket entry
     G    Document linked incorrectly to the wrong document/docket entry
     G    Incorrect event selected. Correct event is
     G    Case number is incorrect or missing
     G    Hearing information is missing, incorrect, or not timely
     G    Local Rule 7.1-1 No Certification of Interested Parties and/or no copies
     G    Case is closed
     G    Proposed Document was not submitted as separate attachment
     G    Title page is missing
     G    Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
     G    Local Rule 56-2 Statement of genuine disputes of material fact lacking
     G    Local Rule 7-19.1 Notice to other parties of ex parte application lacking
     G    Local Rule 11-6 Memorandum/brief exceeds 25 pages
     G    Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
     ✔
     G    Other: Hearing information is not timely




Dated: June 24, 2019                                                     By:               JOSEPHINE L. STATON
                                                                               U.S. District Judge / U.S. Magistrate Judge
cc: Assigned District and/or Magistrate Judge

               Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-106 (6/12)                               ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
